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             United States District Court for the Eastern

                                 District of Michigan

      United States of America



                                                 Plaintiff,

       vs.                                                                           Case No. 17-20183

      D-2 Janette Tawfik Gaggo



                                              Defendant.



                                 NOTICE OF APPEAL
 Notice is hereby given that Janette Tawfik Gaggo                                                          ,
                                         Name all parties taking the appeal


 hereby appeal to the United States Court of Appeals for the Sixth Circuit from

 Order and Opinion Denying Defendant's Motion to Set Aside Detention Order
                                   The final judgment, from an order describing it


 entered in this action on the   11th     day of                                         December , 2020   .


                                                    (s) Michael S Friedman
                                                                Address: 2833 Crooks Rd., Suite 104
                                                                           Troy, MI 48084



                                                    Attorney for Defendant

 Note to inmate filers: If you are an inmate confined in an institution and you seek the timing
 benefit of Fed. R. App. P. 4(c)(1), complete Form 7 (Declaration of Inmate Filing) and file that
 declaration along with this Notice of Appeal.

 cc: Opposing Counsel ✔
     Court of Appeals ✔

 6CA-3
 11/16
